

People v Kurtzrock (2024 NY Slip Op 50194(U))



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People v Kurtzrock (Glenn)


2024 NY Slip Op 50194(U)


Decided on February 8, 2024


Appellate Term, Second Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on February 8, 2024
SUPREME COURT, APPELLATE TERM, SECOND DEPARTMENT, 9th and 10th JUDICIAL DISTRICTS
PRESENT: : JERRY GARGUILO, P.J., JAMES P. McCORMACK, GRETCHEN WALSH, JJ



2023-42 S C

The People of the State of New York, Respondent,
againstGlenn Kurtzrock, Appellant. 




Glenn Kurtzrock, appellant pro se.
Suffolk County Traffic Prosecutor's Office, for respondent (no brief filed).

Appeal from a judgment of the District Court of Suffolk County, Suffolk County Traffic and Parking Violations Agency (Allen Mathers, J.H.O.), entered on September 7, 2022. The judgment, after a nonjury trial, imposed a $250 civil liability upon defendant as the owner of a vehicle which had failed to stop for a stopped school bus.




ORDERED that the judgment is reversed, without costs, and the notice of liability is dismissed.
Defendant was served with a notice of liability pursuant to Vehicle and Traffic Law § 1174-a. The notice states that a vehicle owned by defendant failed to stop for a stopped school bus on March 7, 2022, at 200 block of County Road 100, Central Islip, New York. At a nonjury trial, the video depicting the violation was reviewed by the court. The court found defendant liable and a judgment was entered imposing a $250 civil liability. 
Defendant appeals, and the People consent to a reversal in light of this court's decision in People v Croce (— Misc 3d —, 2023 NY Slip Op 23399 [App Term, 2d Dept, 9th &amp; 10th Jud Dists 2023]).
For the reasons stated in People v Croce (id.), the judgment is reversed and the notice of liability is dismissed.
GARGUILO, P.J., McCORMACK and WALSH, JJ., concur.
ENTER:Paul KennyChief ClerkDecision Date: February 8, 2024









